Case 1:04-cv-01273-.]DT-STA Document4 Filed 05/09/05 Page 10f2 PagelD/%(`

 

 

 

 

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Eastern Division ’TS§;`;VO/`
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chREx DAvis,
V.
cHARLEs TRAucHsER, ET AL., cAsE NuMBER; 1:04-1273-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 5/3/2005, this case is hereby D|SM|SSED and it is furthered
CERT|F|ED that any appeal in this matter is not taken in good faith.

 

APPRovED:
J s D.Tooo \

U TED STATES DlSTR|CT JUDGE

ROBERT R. Di TROL|O

 

 

cLERK
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This document entered on the docket sheet in compliance

with Rule 58 and/cr 79(3) FRCP on § g l O{ 5

 

 

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This notice confirms a copy of the document docketed as number 4 in
ease 1:04-CV-01273 Was distributed by faX, mail, or direct printing on
May ]O, 2005 to the parties listed.

 

CedreX Davis

275609

960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

